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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

NICOLAS TALBOTT et al.,                              )
                                                     )
       Plaintiffs,                                   )
                                                     )
v.                                                   )     Civil Action No. 1:25-cv-00240 (ACR)
                                                     )
UNITED STATES OF AMERICA et al.,                     )
                                                     )
       Defendants.                                   )
                                                     )

                            DECLARATION OF MARTHA SOPER

       I, Martha Soper, declare as follows:

       1.      I served as Assistant Deputy, Health Policy in the Office of the Deputy Assistant

Secretary of the Air Force, Reserve Affairs & Airman Readiness from October 2014 to September

2020. In this role, I served as the principal advisor in all matters pertaining to the development

and management of Air Force-wide and DoD-wide health policy. This included the development

and oversight of total force strategic plans and policies pertaining to a full range of direct and

indirect health care programs. I also served as the principal advisor to senior leaders in all matters

pertaining to reorganizing and integration of programs for support and care of wounded Service

members and their families. I also oversaw the medical incentive programs to include retention

and special bonus pays and appraised senior leaders of the effectiveness of the programs in

maintaining, retaining and providing a quality force in the medical fields. From September 2020

to November 2022, I served as Deputy Director of the Discharge Appeal Review Board

(“DARB”), which is an administrative board constituted by the Secretary of Defense and vested

with the authority to conduct a final review of a request for an upgrade in the characterization of a

discharge or dismissal. In this role, I was responsible for managing the DARB's day-to-day
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operations. As a former Department of Defense official and a former Department of the Air Force

official, I can attest that subjecting service members to administrative separation due to treatable

medical conditions is a departure from standard practices and will result in immediate and severe

career harm regardless of the outcome of the proceedings.

                              PROFESSIONAL BACKGROUND

       2.      I attended Touro University and obtained a Bachelor of Science in Health Sciences

in 2005 and a Master of Science in Health Sciences in 2007.

       3.      From February 2007 to April 2021, I served as an officer in the U.S. Air Force in

various positions, culminating in my service as Commander of the Aeromedical Evacuation

Formal Training Unit.

       4.      From May 2012 to October 2014, I served as Director, Reserve Medical Programs

in the Office of the Secretary of Defense, Reserve Affairs developing and reviewing policy

guidance pertaining to National Guard and Reserve medical personnel, force structure equipment

and training to include analysis of medical defense planning guidance and POM instructions,

analysis of service POME and budgets, analysis of manpower requirements, and development of

proposals for Reserve Corps medical incentives for accession and retention programs.

       5.      From October 2014 to September 2020, I served as Assistant Deputy, Health Policy

in the Office of the Deputy Assistant Secretary of the Air Force, Reserve Affairs & Airman

Readiness.   In this role, I served as the principal advisor in all matters pertaining to the

development and management of Air Force-wide and DoD-wide health policy. This included the

development and oversight of total force strategic plans and policies pertaining to a full range of

direct and indirect health care programs. I also served as the principal advisor to senior leaders in

all matters pertaining to reorganizing and integration of programs for support and care of wounded



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Service members and their families. I also oversaw the medical incentive programs to include

retention and special bonus pays and appraised senior leaders of the effectiveness of the programs

in maintaining, retaining and providing a quality force in the medical fields.

       6.      From September 2020 to November 2022, I served as Deputy Director of the

Discharge Appeal Review Board (“DARB”), which is an administrative board constituted by the

Secretary of Defense and vested with the authority to conduct a final review of a request for an

upgrade in the characterization of a discharge or dismissal. In this role, I was responsible for

managing the DARB's day-to-day operations.

                        THE FEBRUARY 26, 2025 MEMORANDUM

       7.      Under the February 26, 2025, memorandum, transgender service members who

cannot secure a waiver will be directed for administrative separation.

       8.      These administrative separation proceedings (or “Administrative Board”) are

governed by DoDI 1332.14 for enlisted personnel and DoDI 1332.30 for officers, along with

Service-specific implementing policies. A true and correct copy of DoDI 1332.14 is attached as

Exhibit A and a true and correct copy of DoDI 1332.30 is attached as Exhibit B.

       9.      The Administrative Board is ordered to follow Department of Defense (DoD) and

Service branch instructions. While the outcome is not predetermined, it is rare for a board to

disregard DoD policy directives in arriving at its recommendation.

       10.     Once the Administrative Board makes a recommendation to the separation

authority, the only options available are to follow the recommendation of the Administrative Board

or to refer the case to the member’s Service secretary. Only the Secretary of the relevant Service

has authority to overturn the Administrative Board’s decision.

        11.     Administrative separation is typically based on misconduct or failure to meet

standards. It is unusual for administrative separation to be used for medical conditions, particularly

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for a treatable medical condition where the service member was able to meet all military standards.

       12.     To my knowledge, there is no precedent for using administrative separation to

remove service members with a medical condition that was previously authorized for service, then

prohibited, and then authorized again, as is the case with continued service for transgender service

members with gender dysphoria or a history of gender dysphoria.

       13.     In the typical circumstance, when a service member presents with a medical

condition, they go through the Medical Evaluation Board (MEB) process at the wing level. From

there, they would be referred to the Disability Evaluation System (DES), which allows the military

to consider how a person's medical condition impacts their service and potential deployability. A

true and correct copy of DoDI 1332.18 is attached as Exhibit C.

       14.     Being placed in administrative separation proceedings can cause immediate and

severe career harm. Service members in administrative separation proceedings are designated as

non-deployable and cannot be promoted.

       15.     Moreover, because the entire premise of the February 26 memorandum is that

having gender dysphoria is “incompatible with military service,” I do not believe that any service

member subjected to this process will be able to continue in service.

       16.     Administrative separation is normally reserved for misconduct or failure to meet

standards. This sends a message to service members that those with gender dysphoria are unable

to standards. The harm to a service member’s ability to continue to serve from initiating this

process alone, regardless of outcome, is harmful to a military career.

       17.     Under generally applicable accessions criteria, all prospective military service

members must undergo a rigorous examination to identify any preexisting physical or mental

health diagnoses that would preclude accessions.
       18.     Any individual with a history of suicidality is screened as part of this standard

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process. This screening applies to everyone who seeks to access, regardless of gender identity or

transgender status.

        19.     There is no rational basis to single out transgender people for categorical exclusion

based on claims of elevated suicide risk. The military's existing screening procedures are designed

to identify individuals who may pose a risk, regardless of demographic group.

        20.     Anyone with a history of anxiety or depression—whether transgender or not—is

barred from accessing unless they meet generally applicable criteria to demonstrate those

conditions will not limit their ability to serve.

        21.     The irrationality of excluding otherwise fit applicants based solely on demographic

characteristics is why the military does not adopt a categorical approach to other demographic

groups who have or may have disproportionate rates of depression, suicidality, anxiety, or other

mental health conditions.

        22.     The policy at issue irrationally excludes transgender people from universal

deployment standards that already mandate the discharge of service members who are

nondeployable for extended periods of time.

        23.     Subjecting people with a current or past diagnosis of gender dysphoria, or with

symptoms of gender dysphoria to administrative separation proceedings represents a significant

departure from the current process for evaluating a person's fitness for continued service when

they experience a health condition.

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